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PROB 12C
(Rev. 12/04)

                          UNITED STATES DISTRICT COURT
                                      for the
                          WESTERN DISTRICT OF LOUISIANA

               Petition for Warrant or Summons for Offender Under Supervision

Name of Offender: Todd Allen Booth                           Case Number: 2:13CR-00263-001

Name of Sentencing Judicial Officer: Honorable Patricia Minaldi, U.S. District Judge

Name of Assigned Judicial Officer: Honorable James D. Cain, Jr., U.S. District Judge

Date of Original Sentence: July 17, 2014

Date of Amended Sentence: July 17, 2017

Original Offense: Possession of Firearms by a Convicted Felon / Unlawful Transport of Firearms
With Forfeiture Allegations

Original Sentence: One hundred eighty months imprisonment, followed by five years supervised
release.

Amended Sentence: Ninety-six months imprisonment, followed by three years supervised
release.

Type of Supervision: Supervised Release           Date Supervision Commenced: April 18, 2020



                               PETITIONING THE COURT
‫܈‬        To issue a warrant
‫܆‬        To issue a summons
‫܆‬        Other
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The probation officer believes that the offender has violated the following condition(s) of supervision.

Violation Number        Nature of Noncompliance

         1             Special Condition No. 2: The defendant must reside at the CINC II
                       Halfway House in Lake Charles, Louisiana, for up to six (6) months beyond
                       his release from the Federal Bureau of Prisons, or until he is able to establish
                       an approved residence. While residing at the halfway house, the defendant
                       is to comply with all rules and regulations.

                       On May 12, 2020, RRC staff advised the U.S. Probation Office that Booth
                       engaged in a physical altercation with a security monitor. The staff then
                       ordered him removed from CINC II.

                       Evidence to support the violations includes the testimony of the probation
                       office and the written statement from the CINC II Residential Re-entry
                       staff.


U.S. Probation Officer Recommendation:

                        The term of supervision should be:
                               ‫܈‬     Revoked
                               ‫܆‬      Extended for __ years, for a total term of __ years.

                        I declare under penalty of perjury that the foregoing is true and correct.

                        Executed on May 12, 2020


                       ___________________________________________________________
                       Justin Opdenhoff, U.S. Probation Officer
